 1                                                    JUDGE:           Christopher M. Alston
                                                      CHAPTER:         7
 2

 3
                            UNITED STATES BANKRUPTCY COURT
 4                 FOR THE WESTERN DISTRICT OF WASHINGTON AT SEATTLE

 5
         In Re:                                              No. 17-15395-CMA
 6

 7                                                           EX PARTE APPLICATION FOR
         WEBB, THOMAS COURTNEY                               ORDER AUTHORIZING
 8                                                           EMPLOYMENT OF REAL ESTATE
                                      Debtor(s).             AGENT FOR ESTATE
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10

11            Edmund Wood, the duly appointed Chapter 7 Trustee in the above-captioned bankruptcy case,

12   applies to this Court for authority to employ Rich Kim and Lumin Brokers, whose offices are located at
13
     5400 Carillon Point, Kirkland, WA, as real estate agent for the trustee and in support thereof states as
14
     follows:
15
              1.     On July 30, 2015, the above-named debtor(s) filed a Chapter 7 bankruptcy petition in the
16
     United States Bankruptcy Court for the Western District of Washington at Seattle, and on July 30, 2015,
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18
     Edmund Wood was appointed as the chapter 7 trustee of the estate.

19            2.     The trustee desires to hire Rich Kim to sell real property on behalf of the estate on a 6%

20   commission basis, subject to Court approval after notice and a hearing. This listing agreement also
21   provides for the payment of a facilitation fee of 1 and ½ percent of the sales price. The trustee is not
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     seeking approval of this facilitation fee. Mr. Kim may apply to the court for approval of the facilitation
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     fee prior to or contemporaneous with approval of the sale, with notice and a hearing. Mr. Kim is a
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     licensed real estate broker and a licensed mortgage broker. Mr. Kim also frequently asks for a payment of
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     $2,500 from the lien holder as contribution to any additional closing fees. If the lien holder agrees, these
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     fees are fully disclosed on any and all settlement statements association with the sale. A copy of the

28   proposed listing agreement is attached.

29
     APPLICATION TO HIRE REAL ESTATE AGENT                                           Wood & Jones, P.S.
                                                                                             303 N. 67th Street
                                                                                      Seattle WA 98103-5209
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               3.        Rich Kim and Lumin Brokers have previously worked with Edmund J. Wood, Trustee in
 1

     other bankruptcy cases and it is anticipated that this will continue.
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 3             4.        The trustee is aware of no connections between Rich Kim, and the debtor, creditors, any

 4   party in interest, their respective attorneys and accountants, the United States Trustee, or any person

 5   employed in the office of the United States Trustee other than as set forth above. No notice to creditors or
 6
     interested parties of this motion is necessary pursuant to 11 U.S.C. section 102(1) and FRBP 2002.
 7
               5.        The Trustee is not aware of any interest adverse to the estate held by Rich Kim and
 8
     Lumin Brokers and believes them to be disinterested pursuant to 11 USC §101(14).
 9
               WHEREFORE, the trustee applies to the Court for an order authorizing the employment of Rich
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11
     Kim and Lumin Brokers to list and sell property of the estate as described in this application as of the date

12   this application and order are submitted to the office of the United States Trustee, with all compensation

13   subject to Court order upon notice to creditors and a hearing.
14
               DATED:           February 8, 2018
15

16
                                                  /s/ Edmund Wood
17                                              Edmund Wood, WSBA #03695
                                                Chapter 7 Trustee
18
               I CERTIFY under penalty of perjury that on February 8, 2018, I caused a copy of the foregoing
19
     document to be delivered to the U.S. Trustee by email at USTPRegion18.SE.ECF@usdoj.gov, and the
20
     U.S. Trustee’s Office has no objection or seven days have passed since submission to the U.S. Trustee’s
21
     Office.
22
                                                  /s/ Dominique Moses
23
                                                Dominique Moses, Paralegal
24

25
     Kim - App to Hire
26

27

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29
     APPLICATION TO HIRE REAL ESTATE AGENT                                           Wood & Jones, P.S.
                                                                                              303 N. 67th Street
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                                               January 30, 2018




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